                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                       CRIMINAL DOCKET NO. 3:01CR66-6V



UNITED STATES OF AMERICA                   )
                                           )
                                           )
              vs.                          )                 ORDER
                                           )
RONALD WASHINGTON                          )
                                           )


              THIS MATTER is before the Court on its own Motion. On October 2, 2006,

this Court signed an Order permitting Defendant to waive his physical presence at his re-

sentencing hearing and permitting Defendant to appear via telephone, video conference,

or other electronic means. In accordance with that Order, the Court requests that the Taft

Correctional Institution, located at 1500 Cadet Road, Taft, California 93268, permit

Defendant Ronald Washington, Register Number 23563-112, to appear by video

conference for his re-sentencing hearing, which has been rescheduled for Friday,

December 15, 2006 at 1:15 p.m. In order to accommodate this request, the responsible

individual at the Taft Correctional Institution can contact Mr. Kent Creasy, Chief Information

Officer for the United States District Court for the Western District of North Carolina, at

(704) 350-7424 or 401 West Trade Street, Charlotte, North Carolina, 28202.

       IT IS, THEREFORE, ORDERED that the Taft Correctional Institution make

Defendant Ronald Washington, Register Number 23563-112, available via video

conference for his rescheduled re-sentencing hearing on Friday, December 15, 2006 at

1:15 p.m.

       The Clerk is directed to send copies of this Order to: (1) the Warder at CI Taft,

Correctional Institution, P. O. Box 7000, Taft California 93268; (2) Pam Jones, Acting

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Executive Assistant CI Taft, Correctional Institution, P. O. Box 7000, Taft, California 93268;

(3) Kent Creasy, Chief Information Officer for the United States District Court for the

Western District of North Carolina; (4) Defense Counsel; and (5) the United States

Attorney.



                                              Signed: November 27, 2006




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